                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  UNITED STATES OF AMERICA,                         )
                                                    )
                        Plaintiff,                  )
                                                    )
  v.                                                )          No. 3:08-CR-175
                                                    )
  CLARK ALAN ROBERTS and                            )          (PHILLIPS/SHIRLEY)
  SEAN EDWARD HOWLEY,                               )
                                                    )
                        Defendants.                 )

                               REPORT AND RECOMMENDATION

                 All pretrial motions in this case have been referred to the undersigned pursuant to 28

  U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

  Court as may be appropriate. This case came before the Court on November 12, 2009, for a motion

  hearing on Defendant Sean Edward Howley’s Motion to Suppress Statements [Doc. 19] and Sealed

  Motion to Suppress Search Pursuant to Search Warrant [Doc. 25] and Defendant Clark Alan

  Roberts’ Motion to Suppress [Doc. 39], in which the Court has permitted [Doc. 81] Defendant

  Howley to join. Assistant United States Attorneys D. Gregory Weddle and Thomas S. Dougherty

  appeared on behalf of the government. Attorneys W. Thomas Dillard and Stephen Ross Johnson

  were present for Defendant Roberts, who attended the hearing. Attorney Douglas A. Trant

  represented Defendant Howley, who was also present. The parties presented testimony and

  argument on the pending motions, and the Court took the motions under advisement at the

  conclusion of the hearing.




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                                  I. POSITIONS OF THE PARTIES

                    The Superseding Indictment [Doc. 6] charges both defendants in each of eleven

  counts. Counts one through Seven allege violations of the Economic Espionage Act, 18 U.S.C. §

  1832.       Count One alleges that the defendants conspired to commit theft of trade secrets,

  unauthorized photographing and transmitting of trade secrets, and receiving and possessing of trade

  secrets. Count Two charges the defendants with theft and attempted theft of trade secrets. Count

  Three asserts that the defendants photographed and attempted to photograph trade secrets. Counts

  Four through Six allege that the defendants transmitted or attempted to transmit trade secrets. Count

  Seven charges the defendants with the possession or attempted possession of stolen trade secrets.

  Counts Eight through Ten each state that the defendants committed wire fraud, and Count Eleven

  charges them with conspiracy to commit wire fraud.

                    Both defendants ask the Court to suppress the evidence gained in the September 25,

  2007 search of Wyko Tire Technology (“Wyko”), their place of employment, pursuant to a search

  warrant. Defendant Roberts contends [Doc. 39] that the search warrant was not sufficiently

  particular because it did not expressly narrow the search of the computer information. He also

  contends that the search of Wyco exceeded the scope of the search warrant. Defendant Howley joins

  in Defendant Roberts’ arguments and also contends [Doc. 25] that a cellular telephone taken from

  his person must be suppressed because the search warrant did not authorize the search of his person.1


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           In his Sealed Motion to Suppress Search Pursuant to Search Warrant [Doc. 25],
  Defendant Howley also argued that the search warrant affidavit contains material omissions of
  fact, that if known to the issuing judge, would have required the striking of certain information
  from the affidavit in support of the search warrant. In his brief, he asserts that, in the absence of
  this information, the affidavit fails to provide probable cause for the warrant’s issuance.
  Defendant Howley’s brief references his affidavit and the affidavit filed in support of the search
  warrant, neither of which had been filed in the record at the time of the hearing. At the

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  Finally, Defendant Howley moves [Doc. 19] for the suppression of a statement he gave to law

  enforcement on the day the search warrant was executed, arguing that the statement was involuntary

  and the fruit of the illegal search. More specifically, he asserts that the officers did not advise him

  of the Miranda warnings at the time he gave the statement and that he was in custody at the time,

  because he did not feel free to leave.

                 The government responds [Docs. 50 and 53] that the defendants lack standing to

  contest the search of Wyko, their place of employment. Moreover, it contends [Doc. 53] that the

  Fourth Amendment does not require that a search warrant particularize the methodology for

  searching computer data. With regard to Defendant Howley’s statement, the government argues

  [Doc. 46] that the defendant was not in custody at the time he made the statement and, thus, the

  Miranda warnings were not warranted.



                              II. SUMMARY OF THE TESTIMONY

                 The government presented the testimony of Special Agent Kevin Gounaud, who is

  employed by the Federal Bureau of Investigation (FBI).            Agent Gounaud testified that he

  investigated allegations of theft of trade secrets at Wyko and was present for the execution of a

  search warrant in September 2007. On the day of the search, the Wyko employees were asked to

  go to the break room during the execution of the search warrant for safety reasons and to secure the

  scene. Once there, an FBI agent briefed the employees on what was happening. The employees

  were informed that they were not required to stay and that they could leave the facility during the

  search. Once the agent finished reading the eleven-point statement to the employees, Agent



  November 12 hearing, defense counsel for Defendant Howley withdrew these arguments.

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  Gounaud asked for Defendant Howley. When Howley approached, Agent Gounaud introduced

  himself and Agent O’Conner, and he shook Howley’s hand. He told Howley that he would like to

  ask him some questions. He described the defendant’s demeanor as cordial and friendly.

                 Agent Gounaud testified that Defendant Howley walked with he and Agent O’Conner

  to the office of Ismail Menguc, the general manager. Agent Gounaud had previously identified this

  office as a location at which interviews would be conducted because it was private, comfortable, and

  free of distractions. Agent Gounaud identified photographs of the office, which show a desk with

  a chair behind it and two chairs on the other side of it. During the interview, Agent O’Connor was

  seated behind the desk. Agent Gounaud sat in the chair close to but not blocking the door, and

  Defendant Howley sat in the other chair on the opposite side of the desk. The office contained one

  window, the blinds on which were closed to prevent distractions from the search taking place outside

  the office.

                 Agent Gounaud stated that he did not provide Miranda warnings to Defendant

  Howley. He had been trained that the Miranda warnings were only appropriate if the person was

  in custody, if the person had a pending federal charge, or if the person was significantly deprived

  of his or her freedom tantamount to an arrest. He believed that none of these three situations applied

  during his interview of Defendant Howley. The defendant was not handcuffed or restrained, and

  nothing blocked the defendant’s access to the door. No one told the defendant that he could not

  leave, and in fact, Howley along with all the employees were informed at the briefing in the break

  room that they were free to leave. Agent Gounaud testified that he was dressed in a suit and tie.

  Neither he nor Agent O’Connor showed their weapon to Defendant Howley.

                 Agent Gounaud testified that the beginning of the interview was business-like and,


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  at times, during the interview, the parties were laughing. He stated that neither he nor the other two

  raised their voices during the interview. The first two-thirds of the interview involved asking the

  defendant about factual background. Agent Gounaud stated that parts of the interview were serious,

  and, at one point, he confronted Defendant Howley with the fact that Gounaud believed the

  defendant was lying. He advised the defendant that 18 U.S.C. § 1001 prohibited lying to a federal

  investigator and that this offense carried a five-year penalty. He said within five to ten minutes, the

  defendant agreed that he had been lying. After the defendant made this admission, the tone of the

  interview changed and the defendant began relating information relevant to the theft of trade secrets.

  Agent Gounaud showed the defendant several documents during the interview, and, each time, he

  would get up to hand the document to the defendant. At the end of the interview, he asked the

  defendant for his cellular telephone. The interview lasted one and one-half to two hours. Agent

  Gounaud said he made no threats or promises to Defendant Howley during the interview.

                 On cross-examination, Agent Gounaud testified that the interview was not video or

  audio-taped. He stated that based upon his training, he would not give the Miranda warnings unless

  it was an “arrest-type” situation. He acknowledged that about forty-five minutes into the interview,

  he confronted the defendant with lying. He advised the defendant that a violation of section 1001

  was a felony, which carried the penalty of imprisonment. Agent Gounaud said that if the defendant

  had asked to leave during the interview, he would have allowed him to do so. He admitted that he

  did not ask the defendant if he wanted to leave. During the interview, he showed the defendant

  seven photographs, a copy of an email, and several forms from Goodyear, including the sign-in log

  and the privacy statement. Agent Gounaud stated that the defendant’s cellular telephone was listed

  in the search warrant and that he took the cellular telephone at the end of the interview. He


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  acknowledged that the search warrant did not permit the search of the defendant’s person.

                 On redirect examination, Agent Gounaud testified that Defendant Howley’s cellular

  telephone was specifically listed on the attachment to the search warrant. At the end of the

  interview, he asked the defendant for his cellular telephone. The defendant gave it to him without

  objecting.

                 Defendant Clark Roberts testified in his own behalf that his career at Wyko spanned

  twenty-five years. In September 2007, he was the Director of Engineering at Wyko in Greenback,

  Tennessee. In this position, he supervised five engineers, communicated with customers and

  Wyko’s overseas entities, participated in some financial statements, had managerial and human

  resources responsibilities, and also performed some engineering and design work. Defendant

  Howley was one of the engineers whom he supervised.

                 Defendant Roberts stated that by September 2007, he had worked in a private office

  with a door for five months. He had a laptop computer that he took home and on trips. His work

  email account was protected with a password and could only be accessed by himself and his

  supervisors. He used his Wyko email account to communicate with Wyko engineers and employees;

  customers, which included all major tire manufacturers; and even friends and family to include his

  wife. He did not expect other employees, aside from his superiors, to have access to his email. He

  kept copies of his email on his laptop computer, and these emails were also backed up on the server.

  He believed it to be company policy that no one could use the server to access someone else’s email

  or information. Some information contained on the server could be accessed by others, for example

  other engineers could access drawings. Defendant Roberts stated that Defendant Howley’s office

  was in an open work station shared with four other engineers


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                 Defendant Roberts testified that Wyko’s main computer database was located in a

  locked room, to which he did not have a key. Persons who were not Wyko executives had to get

  permission from a manager to enter the room. Everything electronic was stored on this database,

  including company documents, customer and commercial information, drawings, personnel files,

  drafts, and email. Knowledge of Defendant Roberts’ password was necessary to access his

  information on the server.

                 On cross-examination, Defendant Roberts stated that in 2007, supervisors could

  request access to the server through the “IT” manager. Defendant Roberts’ laptop computer was

  password protected. No one else knew his password but the “IT” employee could override it.

  Defendant Roberts agreed that the server contained a lot of information that was not related to him.

  He also acknowledged that once he sent an email, he lost control over what happened to it. He

  stated that some of his files were not backed up on the server, such as his personal correspondence,

  letters, Word documents, and Excel spreadsheets. He could designate which files were to be backed

  up and the others defaulted to being saved only on his hard drive. Drawings were among those files

  that were backed up. Defendant Roberts agreed that drawings and communications with customers

  “belonged” to Wyko. He stated that he was not a corporate officer at Wyko.



                                     III. FINDINGS OF FACT

                 On September 25, 2007, FBI agents executed a search warrant for the premises of

  Wyko Tire Technology. Among other things, this warrant authorized the seizure of computers and

  Wyko’s server. At the beginning of the search, all employees were instructed to go to the employee

  break room. There, an FBI agent told them that Wyko was being searched and told them that they


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  did not have to remain inside during the search. Special Agent Kevin Gounaud was present in the

  break room and asked to see Sean Howley. Howley accompanied Agent Gounaud and Agent

  O’Connor to a private office, where the agents interviewed Howley for one and one-half to two

  hours. During this interview, Howley admitted to theft of trade secrets. At the end of the interview,

  Agent Gounaud asked Howley for his cellular telephone, which Howley produced from his person

  and gave to Gounaud.

                 All other relevant factual findings will be made as a part of the analysis of the issues.



                                            IV. ANALYSIS

                         The Fourth Amendment protects the right to be free from unreasonable

  searches and seizures. In this respect, a judge shall not issue a warrant for the search of a person,

  home, or personal property except upon a finding of “probable cause, supported by oath or

  affirmation, and particularly describing the place to be searched, and the persons or things to be

  seized.” U.S. Const. amend. IV.

                 The defendants contend that their rights under the Fourth Amendment were violated

  by both the issuance and the execution of the September 2007 search warrant authorizing the search

  of Wyko. As an initial matter, the government argues that the defendants lack a legitimate

  expectation of privacy in the business records of their employer and, thus, cannot challenge the

  search warrant. With regard to the issuance of the search warrant, the defendants maintain that the

  search warrant was not sufficiently particular because it did not specify a methodology for

  narrowing the search of computer information. They also fault the execution of the search warrant,

  contending that the executing officers seized electronic materials and then searched those materials


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  an infinite number of times and in an unlimited manner. Defendant Howley also contends that the

  officers improperly seized a cellular telephone from his person, which was not a location to be

  searched in the warrant. Finally, Defendant Howley moves for the suppression of the statement he

  gave on the day the search warrant was executed, contending that the statement (1) was involuntary

  and (2) was the fruit of an illegal search. The Court will address each of these arguments in turn.



                                          A. Search Warrant

                 On September 25, 2007, the undersigned issued a search warrant [Exhibit 4] for the

  premises of Wyko Tire Technology Inc., located in Greenback, Tennessee. Although the witnesses

  at the November 12 hearing did not testify regarding the date that the search warrant was executed,

  the receipt for property taken during the search [Exhibit 2] reveals that the warrant was executed on

  that same day. The defendants challenge both the issuance and the execution of the search warrant.



  (1) Standing of Defendants to Challenge the Search Warrant and the Search

                 The government argues that the defendants do not have a legitimate expectation of

  privacy in the property of their employer and, thus, cannot object to a search of Wyko. It asserts that

  they are not corporate officers and, thus, not persons aggrieved by a search of the corporation. At

  the November 12 hearing, the government argued that the computer files in question were the

  property of Wyko. Additionally, it asserted that Defendant Roberts had no ability to control what

  happened to emails or files once they were saved on the server.

                 The defendants argue that they have standing to challenge the search warrant because

  items in which they enjoyed a legitimate expectation of privacy were seized. Defendant Roberts


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  argues that pursuant to the search warrant, agents seized his laptop computer, his email, files on

  which he was working that were located on the computer file servers, and documents and papers.

  He asserts that he had a personal and reasonable expectation of privacy in his work space and the

  items seized, even when they were shared with others. At the hearing, defense counsel argued that

  Defendant Roberts had standing to challenge the search and seizure of his laptop computer and any

  files and email contained thereon. Defense counsel also stated that Defendant Roberts had a

  legitimate expectation of privacy in certain files on the server, specifically the back up copies of his

  email and any items on the server over which Roberts had exclusive control because they were

  password protected or for which Roberts had a degree of control greater than the general Wyko

  employee. Defense counsel contended that the defendant’s exclusive control over his computer or

  the server was not required because he had an expectation that those files could not be accessed by

  others beyond his superiors.

                  The Supreme Court has interpreted the protections granted by the Fourth Amendment

  to extend to “commercial premises” as well as homes, Mancusi v. DeForte, 392 U.S. 364, 367

  (1968), but has held that “[a]n expectation of privacy in a commercial premises . . . is different from,

  and indeed less than, a similar expectation in an individual’s home, ” New York v. Burger, 482 U.S.

  691, 700 (1987). In order to contest whether a search comports with the Fourth Amendment, the

  defendant must have “a reasonable expectation of privacy” in the location searched. Rakas v.

  Illinois, 439 U.S. 128, 143 (1978). “It is well-established that a defendant claiming that a search

  violated his Fourth Amendment rights has the burden of demonstrating that he had a legitimate

  expectation of privacy in the place that was searched.” United States v. Talley, 275 F.3d 560, 563

  (6th Cir. 2001). Whether the defendant enjoys a reasonable expectation of privacy does not turn


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  solely upon the defendant’s subjective belief but also depends upon (1) the defendant’s interest in

  and control of the place searched, (2) any measures the defendant took to ensure privacy, and (3)

  whether society recognizes the defendant’s expectation as reasonable. United States v. Padin, 787

  F.2d 1071, 1075-76 (6th Cir.), cert. denied, 479 U.S. 823 (1986).

                 “It has long been settled that one has standing to object to a search of his office, as

  well as of his home.” DeForte, 392 U.S. at 369; see also United States v. Mohney, 949 F.2d 1397,

  1403 (6th Cir. 1991) (observing that “[i]n some circumstances, an officer of a corporation may be

  a ‘person aggrieved’ by a corporate search and seizure and thus have standing to challenge the

  search”), cert. denied 504 U.S. 910 (1992). On the other hand, “[w]here the documents seized were

  normal corporate records not personally prepared by the defendant and not taken from his personal

  office, desk, or files, in a search that was not directed at him personally, the defendant cannot

  challenge a search as he would not have a reasonable expectation of privacy in such materials.”

  Mohney, 949 F.2d at 1403. In the present case, Defendant Roberts testified that at the time of the

  search, he had his own private office and laptop computer that was password protected. Roberts’

  testimony suggests that he either prepared or reviewed and supervised the creation of the files and

  email contained on his laptop computer. Although the search warrant authorized the search of

  Wyko and not Defendant Roberts personally, Defendant Roberts is named throughout the affidavit

  in support of the search warrant as a person involved in the photographing of Goodyear’s swab

  down system. Accordingly, the Court finds that Defendant Roberts has a legitimate expectation of

  privacy in anything seized from his office and all of the files on his laptop computer.

                 With regard to Defendant Howley, the Court also finds that he has a legitimate

  expectation of privacy in files and information taken from his work space and personal computer.


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  Although the Court heard no testimony regarding Defendant Howley’s computer, it assumes that

  his computer was also imaged during the search based upon the defendants’ representations in their

  motion to compel discovery [Doc. 70]. Moreover, although Defendant Howley worked in an open

  work station, the diagram of Wyko’s facility [Exhibit 1] reveals that he had his own cubical-type

  area, which is consistent with Defendant Roberts’ testimony. Finally, the affidavit in support of the

  search warrant reveals that Defendant Howley was also specifically named as one involved in

  photographing Goodyear’s swab down system. Accordingly, the Court finds that Defendant Howley

  has a legitimate expectation of privacy in anything seized from his work station and in all of the files

  on his laptop computer.

                  The harder question is whether the defendants have standing to challenge the search

  of information contained on Wyko’s server. The Court finds that the server contained files that

  employees such as Defendant Roberts designated to be stored there and files that were automatically

  “backed up” or copied there, such as email. Some files on the server were password protected and

  others, such as files of drawings, could be accessed by a number of employees. The Court also finds

  that the server contained a large amount of information to which Defendant Roberts had no access

  or relation.

                  Whether the defendants enjoy standing regarding items stored on Wyko’s server turns

  upon whether their asserted expectation of privacy in those items was objectively reasonable. As

  discussed above, the Court assesses the reasonableness of an expectation of privacy by looking to

  (1) the defendant’s interest in and control of the place searched, (2) any measures the defendant took

  to ensure privacy, and (3) whether society recognizes the defendant’s expectation as reasonable.

  Padin, 787 F.2d at 1075-76. In the present case, the Court finds that the defendants had little to no


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  control over Wyko’s server. Defendant Roberts testified that the server room was locked and that

  he did not have a key. Moreover, although he could designate some files from his computer to be

  saved to the server, he could not access all information on the server. The Court infers from

  Defendant Howley’s position as an engineer supervised by Defendant Roberts that he had no more

  control over the server than did Defendant Roberts and likely even less.

                 With regard to measures the defendants took to ensure privacy in the server,

  Defendant Roberts testified that some of his files that were stored on the server were password

  protected. Finally, the Court finds that the defendants’ expectation of privacy in some information

  that they stored on the server, especially those files that were password protected, was an interest

  that society would recognize. See DeForte, 392 U.S. at 369 (concluding that the defendant, a union

  officer, reasonably expected that certain records were private, even though he shared an office with

  other union officers. On the other hand, Defendant Roberts agreed that email was out of his control

  once he sent it. The Court notes that the system would likely back up an email from the defendants’

  computers but also from their in-house recipients’ computers. Thus, numerous copies of any given

  email exist on the server. The Court finds that the defendants could not be secure in the privacy of

  their email and other similarly situated files on the server. See Guest v. Leis, 255 F.3d 325, 333 (6th

  Cir. 2001) (observing that the sender “would lose a legitimate expectation of privacy in an e-mail

  that had already reached its recipient”). But, c.f., Quon v. Arch Wireless Operating Co, 529 F.3d

  892, 906 (9th Cir. 2008) (holding that sender and recipients may have a reasonable expectation of

  privacy in the content of text messages sent from a pager provided by the sender’s employer), cert.

  granted, City of Ontario v. Quon, No. 08-1472, 2009 WL 1513112 (U.S. Dec. 14, 2009).

                 In so finding, the Court is guided by the decision of the District Court for the District


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  of Connecticut, which held that while a supervisor had a reasonable expectation of privacy in his

  own work area and in other areas in which he worked, he had no reasonable expectation of privacy

  in data on computers other than that on his own desk. United States v. Costin, No. 3:05-CR-38,

  2006WL2522377, *6 (D. Conn. July 31, 2006). Similarly, the present defendants could not expect

  privacy in computer files, other than their own files that were password protected, on Wyko’s server.

  On the other hand, the password protected files resemble the records in United States v. Mancini,

  8 F.3d 104, 110 (1st Cir. 1993). In Mancini, the First Circuit found that the defendant, a mayor, had

  an objectively reasonable expectation of privacy in his work records stored in an “archive attic”

  because the storage area was upstairs from his office of nineteen years, the defendant took

  precautions to assure that others would not have access to the records without his prior permission,

  and the defendant’s records were labeled and segregated from the other items stored in the attic. Id.

  Here, by having some files on the server password protected, the defendant(s) took steps to make

  sure that others could not access his/their files. Accordingly, the Court finds that the defendants had

  no reasonable expectation of privacy in data stored on the server other than their own files that were

  password protected.

                 In summation, the Court finds that the defendants have standing to challenge the

  search of their offices/work spaces, the search of their individual work computers, and the seizure

  of their own, password protected files on the server, if any existed.



  (2) Was the Search Warrant Sufficiently Particular?

                 The defendants contend that the search warrant was not sufficiently particular

  because it failed to specify the documents and files to be searched. They maintain that by permitting


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  the executing officers to conceivably open and view every file on the computer, the search warrant

  essentially provided no limitation on the search of the computer. The government argues that

  Wyko’s computer server and the defendants’ hard drives were seized because they were likely to

  contain the records specified in the search warrant. It contends that the Fourth Amendment does not

  require a search warrant to state the methodology to be used in searching a computer.

                 The Fourth Amendment requires that a search warrant “particularly describ[e] the

  place to be searched and the persons or things to be seized.” U.S. Const. am. IV. The particularity

  requirement forecloses the opportunity for a general search and “prevents the seizure of one thing

  under a warrant describing another” by restricting the discretion of the executing officer. Marron

  v. U.S., 275 U.S. 192, 196 (1927). “However, the degree of specificity required is flexible and will

  vary depending on the crime involved and the types of items sought.” United States v. Henson, 848

  F.2d 1374, 1383 (6th Cir. 1988). The description of items to be seized pursuant to a search warrant

  is sufficient “‘if it is as specific as the circumstances and the nature of the activity under

  investigation permit.’” Id. (quoting United States v. Blum, 753 F.2d 999, 1001 (11th Cir. 1985)).

                 In the present case, the search warrant2 authorizes the search of Wyko. Attachment

  B lists the items to be seized, including “Computers, computer hardware, software, computer related

  documentation, [and] passwords . . ., which contain evidence related to violations of Title 18, United

  States Code, Sections1832 and 2314 as described more fully in paragraphs three (3) through seven

  (7) below.” Paragraphs three through seven of Attachment B describe the types of documents or



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           The search warrant, search warrant affidavit, and supporting documents remain under
  seal in order to protect any references to trade secrets contained therein. The Court will refer to
  these documents only to the extent necessary and in such a way as to protect that interest while
  still explaining its recommendation.

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  data for which the executing officers were authorized to search Wyko and its computers. Paragraph

  three permits the seizure of “[p]hotographs, blue prints, drawings, sketches, diagrams, designs of

  manufacturing equipment and manufacturing processes which contain trade secret information

  belonging to Goodyear[.]” Paragraph four allows the officers to seize “correspondence, including

  e-mail[,]” between certain named entities from January 2006 through the time of the execution of

  the search warrant, “which discuss or refer to trade secret information belonging to Goodyear[.]”

  The fifth paragraph authorizes the seizure of correspondence, email, and documents “related to

  travel by Wyko employees to Goodyear[.]” Paragraph six permits the seizure of records relating to

  contracts with the Haohua South Guilin Rubber Company. Finally, the seventh paragraph allows

  the officers to seize documents relating to “the export of trade secret information belonging to

  Goodyear . . . from any Wyko entity to a foreign country.”

                   The defendants argue that the search warrant fails to limit in any fashion the search

  of computer data by government agents. First, they argue that the search warrant improperly allows

  the executing officers to search for evidence of trade secret violations, rather than limiting the search

  to the seizure of contraband or to the instrumentalities or fruits of the crime. Second, they contend

  that an evidentiary hearing is necessary to determine how the executing officers knew that the

  computers seized contained evidence of trade secret violations. Third, they assert that arguably,

  under the present search warrant, the agents could open every file on a computer in order to discern

  whether it contained evidence of trade secret violations. They contend that this unparticularized

  access to computer data violates the Fourth Amendment’s prohibition against general warrants.

                   Rule 41(c) of the Federal Rules of Criminal Procedure provides that a “warrant may

  be issued for”


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                 (1) evidence of a crime;

                 (2) contraband, fruits of crime, or other items illegally possessed;

                 (3) property designed for use, intended for use, or used in committing
                 a crime; or

                 (4) a person to be arrested or a person who is unlawfully restrained.

  Although the defendants cite to a Supreme Court case they claim leaves open the possibility that

  there may be items with evidentiary value that can never be reasonably seized because of their

  nature, the Court finds that it is not necessary to follow that analytical rabbit trail because it finds

  that the defendants’ computers and the Wyko server would be instrumentalities of the alleged

  crimes. In this regard, the Court observes that the Superseding Indictment alleges that Defendant

  Howley emailed the photographs of purported trade secret information to Defendant Roberts using

  his work email account. Defendant Roberts is alleged to have forwarded the photographs to other

  Wyko employees using his work email account.

                 Second, the defendants contend that an evidentiary hearing is necessary for the Court

  to determine how the executing officers knew that the computer server and hard drives in question

  could be seized. The Court held an evidentiary hearing on November 12, 2009. The government

  produced the testimony of FBI Agent Kevin Gounaud in relation to the statement by Defendant

  Howley. Defendant Roberts testified in his own behalf with regard to the defendants’ standing to

  contest the search of Wyko. Despite having the requested evidentiary hearing, the defendants did

  not elicit any evidence regarding how the executing offices knew that the Wyko server and their

  individual computers3 contained evidence of trade secret violations. Nevertheless, the Court finds


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         As discussed above, the defendants lack a legitimate expectation of privacy in any other
  computer hard drives that might have been seized in the September 25, 2007 search of Wyko.

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  that the affidavit in support of the search warrant provides probable cause for the seizure of both

  defendants’ computers. The affidavit reflects that during the investigation, the investigating agent

  received a copy of an email sent from Defendant Roberts’ work email account, forwarding another

  email dated June 1, 2007, which discusses photographs taken by Defendant Howley with his cellular

  telephone. The photographs are attached to the email and document trade secret information

  belonging to Goodyear. The header of the June 1 email reflects that Defendant Howley was copied

  on that email. This email establishes that the defendants’ work computers were being used to

  disseminate and store information regarding the stolen trade secrets.

                 Third, the defendants contend that the search warrant is insufficiently particular

  because it does not limit the areas on their computers that the executing agents could search.

  Therefore, they maintain that the agents both seized and subsequently searched data and files for

  which there was no probable cause. The Sixth Circuit has upheld the seizure of a computer and the

  subsequent search of the computer off-site due to the “technical difficulties of conducting a

  computer search in a suspect’s home[.]” Guest v. Leis, 255 F.3d 325, 334-35 (6th Cir. 2001). In so

  holding, the appellate court observed that such a procedure necessarily involved the seizure of

  computer data unrelated to the offenses. Id. at 334. The government contends that every other

  circuit to consider the issue has also held that the seizure of a computer (or a copy of its hard drive)

  and its subsequent search offsite does not violate the Fourth Amendment. See United States v.

  Giberson, 527 F.3d 882, 886-87 (9th Cir. 2008) (holding that “where there was ample evidence that

  the documents authorized in the warrant could be found on [the defendant’s] computer, the officers

  did not exceed the scope of the warrant when they seized the computer”); United States v. Grimmett,

  439 F.3d 1263, 1269 (10th Cir. 2000) (holding that search warrant authorized both the seizure and


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  offsite search of the computer); United States v. Upham, 168 F.3d 532, 535 (1st Cir. 1999)

  (concluding that “[a]s a practical matter, the seizure and subsequent off-premises search of the

  computer and all available disks was about the narrowest definable search and seizure reasonably

  likely to obtain” the contraband sought, child pornography). The defendants have not cited any

  contrary authority, nor has the Court located any.

                 The defendants contend that even if the seizure of the computers and their offsite

  searches were proper, the agents could not search every file on the computers for evidence of theft

  of trade secrets. They liken each file on a computer to a separate container and argue that no

  probable cause exists to search every container.

                 Initially, the Court notes that the affidavit supporting the search warrant contains a

  two and one-half page section entitled Specifics of Search and Seizure of Computer Systems. In this

  section, the affiant states that a search of a computer typically requires the seizure of the computer

  (or a copy of the hard drive) and subsequent “process[ing]” by an expert in a controlled

  environment. The affidavit states that this procedure is necessary because computers contain vast

  amounts of information and the user can conceal information by storing it randomly and using

  misleading file names. Additionally, experts and a controlled environment are required to search

  the computer in a way that both protects the integrity of the files and uncovers hidden or deleted

  materials.

                 The Court begins by observing that search warrants are typically concerned with what

  items may be seized, i.e., what the officers are searching for, rather than the method in which the

  officers execute the search: “The warrant process is primarily concerned with identifying what may

  be searched or seized-not how-and whether there is sufficient cause for the invasion of privacy thus


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  entailed.” Upham, 168 F.3d at 537. When executing a search warrant, officers are permitted to look

  in any container or location on the premises that could hold the items to be seized, even if those

  containers are not specified in the search warrant. See United States v. McLavain, 310 F.3d 434,

  439 (6th Cir. 2002) (finding search under a bed and in a garage to be objectively reasonable

  pursuant to a search warrant for a fugitive because a person could hide in these locations). In order

  to search a container, it must be reasonable that the item(s) listed in the search warrant could be

  found therein. Id.; Gilberson, 527 F.3d at 887-88. As the Supreme Court has noted with regard to

  searches for documents, the executing agent may examine some “innocuous” items “at least

  cursorily, in order to determine whether they are, in fact, among those [items] authorized to be

  seized.” Andresen v. Maryland, 427 U.S. 463, 482 n.11 (1976).

                  Thus, when the search warrant permits the agents to search a computer, they may

  search all of the files in that computer for the items to be seized:

                  Searching agents have the authority to look in any place where the
                  evidence sought may be found. The methods employed in executing
                  search warrants are left to the searching agent’s discretion as long as
                  the methods are reasonable. Contrary to Defendant’s argument, [the
                  executing officer] seized all of the computer equipment, not each
                  individual file. This was proper because all of the computer
                  equipment and storage devices were within the scope of the search
                  warrant. [The executing officer] thus acted reasonably in executing
                  the search warrant, and his examination of each file on Defendant’s
                  computers and storage media was reasonable and necessary.

  United States v. Ogden, No. 06-20033-STA, 2008 WL 4982756, *3 (W.D. Tenn. Nov. 18, 2008)

  (holding that executing officer did not exceed the scope of the search warrant); see also Gilberson,

  527 F.3d at 889-90 (holding that officers could search all the files on the computer for child

  pornography. “[S]o long as the computer search is limited to a search for evidence explicitly

  authorized in the warrant, it is reasonable for the executing officers to open the various types of files

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  located in the computer’s hard drive in order to determine whether they contain such evidence.”

  United States v. Jack, No. S-07-0266, 2009 WL 453051, *4 (E.D. Cal. Feb. 29, 2009) (collecting

  cases).

                  The government likens this case to United States v. Tillotson, No. 2:08-CR-33, 2008

  WL 5140773 (E.D. Tenn. Dec. 2, 2008), in which agents seized the defendant’s computer pursuant

  to a search warrant and then examined its entire contents off-site for evidence of child pornography.

  In Tillotson, the Court found that due to the user’s ability to assign misleading file names to the

  evidence sought, it was “necessary to search basically every file on the computer” to locate specific

  data such as child pornography. Id. at *4. The government argues that the same is true with regard

  to the evidence of theft of trade secrets in the instant case.

                  The defendants seek to distinguish Tillotson by pointing to the differences in the

  types of items to be seized (images of child pornography vs. evidence of theft of trade secrets) and

  the fact that the crime in Tillotson was ongoing as opposed to limited in scope, as the defendants

  characterize the instant crimes. They argue that these differences permitted less specificity in the

  Tillotson search warrant. The Court disagrees with this parsing of the cases. In both Tillotson and

  the instant case, the search warrant authorizes the seizure of certain types of computer files (there

  images of child pornography, here email and other kinds of files containing evidence of theft of trade

  secrets) that are unlikely to be named something that would indicate their contents. See Id.

  Moreover, the Tillotson court’s analysis of the ongoing nature of the crime related to its analysis of

  the staleness issue. See Id. at *3. The court reasoned that the defendant would be likely to retain

  the illegal images, thereby reducing the concern that the items sought would no longer be on the

  computer. Id. Although no staleness issue has been raised in the instant case, the Court would note


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  that, here, the defendants allegedly stole the trade secret in order to use it in designing a similar

  machine to fulfill a contract and, thus, would likely retain the items sought.

                  Based upon its analysis of the relevant case law, the Court concludes that the agents

  properly seized the defendants’ computers and searched all the files therein for the items listed in

  paragraphs three through seven of the search warrant. The search warrant is sufficiently particular

  to inform the executing agents of the items to be seized.



  (3) Did the Execution of the Search Warrant Exceed Its Scope?

                  The defendants argue that because the search warrant failed to specify a limiting

  methodology for searching the seized computers or to particularize those areas of the computers that

  could be searched, the warrant was executed like a general exploratory warrant, contrary to the

  Fourth Amendment. They contend that technology exists that could have limited the government’s

  intrusion into parts of the computers for which there was no probable cause to search. Additionally,

  the defendants raise the possibility in their reply brief that the execution of the instant search warrant

  violated Rule 41(e)(2) because it potentially exceeded ten days in duration. The defendants ask the

  Court to assess the reasonableness of the execution of the instant search warrant, specifically with

  regard to the scope and duration of the searches of computers.

                  The government responds that the Fourth Amendment does not require that search

  warrants authorizing the search of a computer be limited in the way that the defendants suggest.

  Moreover, it contends that such limitations would be difficult to implement in practice.

                  The only information in the record regarding the execution of the search warrant at

  issue is the following: (1) Defense counsel’s proffer that only federal agents and federal Computer


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  Analysis Response Team (CART) employees participated in the search of Wyko, (2) Agent

  Gounaud’s testimony that Wyko employees were asked to congregate in the break room and that the

  search was taking place as he interviewed Defendant Howley, and (3) the receipt of the property

  seized in the search [Exhibit 2]. Nevertheless, the Court has found that the executing agents could

  search all of the files contained on the defendants’ computers and on the server for the items listed

  in paragraphs three through seven of Attachment B to the search warrant. Because the extent of the

  search was proper, the Court also generally finds that a search of all the data on the computers for

  the items in Attachment B was reasonable, does not exceed the scope of the search warrant, and does

  not convert the search warrant into a general warrant, even without any limiting methodology in

  place.

                  The Fourth Amendment requires particularization in only two respects: In “the place

  to be searched” and “the persons or things to be seized.” United States v. Grubbs, 547 U.S. 90, 98

  (2006). “‘Nothing in the language of the Constitution or in [the Supreme] Court’s decisions

  interpreting that language suggests that, in addition to the [requirements set forth in the text], search

  warrants also must include a specification of the precise manner in which they are to be executed.’”

  Id. at 99 (quoting Dalia v. United States, 441 U.S. 238, 255 (1979) (first alteration added)).

  Although the level of particularization necessary in each case turns upon the circumstances and the

  activity under investigation therein, Henson, 848 F.2d at 1383, the Court observes that the Sixth

  Circuit has not required such a limiting methodology in discussing the constitutionality of a search

  of all the files on a computer. Guest v. Leis 255 F.3d 325, 334-35 (6th Cir. 2001). In Guest, which

  was discussed in the preceding section, the Sixth Circuit affirmed both the particularity and the

  execution of the search of a computer, which the court acknowledged involved searching files not


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  listed in the search warrant. Id. In its analysis, the appellate court at no point discusses whether a

  limiting methodology was in place or suggests that one was required. Id.

                 Additionally, the Ninth and Tenth Circuits have not required search warrants

  authorizing the search of a computer to have a limiting methodology for the manner in which the

  search would be executed. United States v. Hill, 459 F.3d 966, 977 (9th Cir. 2006); United States

  v. Brooks, 427 F.3d 1246, 1251 (10th Cir. 2005); see also United States v. Cartier, 543 F.3d 442,

  447-48 (8th Cir. 2008) (acknowledging that “there may be times that a search methodology or

  strategy may be useful or necessary” but declining “to make a blanket finding that the absence of

  a search methodology or strategy renders a search warrant invalid per se”); United States v.

  Khanani, 502 F.3d 1281 (11th Cir. 2007) (holding that lack of a written search methodology did not

  require suppression, particularly when agents took precautions to search only those computers and

  analyze only those files that were likely to contain items within the scope of the search warrant); see,

  generally, United States v. Upham, 168 F.3d 532, 537 (1st Cir. 1999) (observing that the “warrant

  process is primarily concerned with identifying what may be searched or seized–not how”). In Hill,

  the Ninth Circuit found that requiring a search methodology or protocol in a search warrant would

  be “unreasonable” due to the fact that a computer user can easily disguise files. Id. at 977. The

  court explained that it “look[ed] favorably upon the inclusion of a search protocol; but its absence

  is not fatal.” Id. Finally, the Ninth Circuit noted that regardless of the inclusion or absence of a

  search methodology, the executing officer is always limited by the fact that he or she may not use

  any search warrant to conduct a “general, exploratory search.” Id. (internal quotation omitted). In

  Brooks, the Tenth Circuit observed that it “has never required warrants to contain a particularized

  computer search strategy. We have simply held that officers must describe with particularity the


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  objects of their search.” 427 F.3d at 1251. The Court finds the reasoning in these cases to be

  persuasive.    In the present case, the affidavit supporting the search warrant states that a review

  of the data on the computers can take days, weeks, or even months, depending on the volume of data

  contained on the computers. It also notes that searching authorities must examine all of the data on

  the computers to determine whether it contains an item listed in the warrant because a computer’s

  user can store information on the computer using “deceptive file names” or in “random order.”

  Based upon this information and the specificity of the items to be seized, the Court finds that a

  search of all the files on the defendants’ computers and on Wyko’s servers for the items listed in

  Attachment B was reasonable.

                 The defendants also raise the possibility that the duration of the search may have

  violated Rule 41 of the Federal Rules of Criminal Procedure. At the time that the instant search

  warrant was executed and the computer hard drives were seized, Rule 41(e)(2)(A)(i) provided that

  a search warrant “must command the officer to . . . execute the warrant within a specified time no

  longer than 10 days.” The defendants argue for the suppression of the evidence seized from their

  hard drives and the server, contending that if the analysis of the seized data occurred more than ten

  days following the issuance of the search warrant on September 25, 2007, then the agents violated

  Rule 41. The Court finds that the ten-day limitation on the execution of a search warrant applies to

  the seizure of the computers or, alternatively, to the imaging of their contents. “The subsequent

  analysis of the computer’s contents is not a search in the sense contemplated by Rule 41 of the

  warrant.” Tillotson, 2008 WL 5140773, at *6 (upholding examination of computer’s files beyond

  Rule 41's 10-day limitation of the authority of a search warrant). Several other district courts have

  also held that Rule 41's ten-day rule did not limit the subsequent analysis of seized computer files.


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  Matter of the Search of the Scranton Housing Authority, 436 F. Supp. 2d 714, 727 (M.D. Pa. 2006)

  (holding that a continuing search of computer files did not violate Rule 41, the purpose of which is

  to prevent stale warrants, because once the computer in question was imaged within the time

  specified in the warrant, the evidence was “frozen in time” alleviating the concern that probable

  cause would have ceased to exist), vacated on other gnds, 487 F. Supp. 2d 530 (M.D. Pa. 2007);

  United States v. Hernandez, 183 F. Supp. 2d 468, 480 (D.P.R. 2002) (holding that “[n]either Fed.

  R. Crim. P. 41 nor the Fourth Amendment provides for a specific time limit in which a computer

  may undergo a government forensic examination after it has been seized pursuant to a search

  warrant”); United States v. Triumph Capital Group, Inc., 211 F.R.D. 31, 66 (D. Conn. 2002)

  (holding with regard to the analysis of computer data, Rule 41 does not impose “any time limitation

  on the government’s forensic examination of the evidence seized”).

                 The defendants cite to United States v. Mitchell, which held that the search of a

  computer hard drive pursuant to a search warrant obtained twenty-one days after the warrantless

  seizure of the hard drive was unreasonable. 565 F.3d 1347, 1351 (11th Cir. 2009). The Court finds

  this case to be inapposite to the instant analysis. The Eleventh Circuit’s decision turns upon the

  reasonableness of the defendant being deprived of his “possessory interest” in his hard drive for

  twenty-one days with no search warrant in place, not the reasonableness of the duration of the

  analysis of electronic data seized pursuant to a search warrant. See Id. at 1351-52. In the instant

  case, the Court finds that the agents seized the evidence within the ten-day time limitation of Rule

  41.            Finally, the Court notes that Rule 41 has now been amended to reflect the distinction

  between the time the computer data is seized and the time that it is analyzed:

                 A warrant under Rule 41(e)(2)(A) may authorize the seizure of
                 electronic storage media or the seizure or copying of electronically

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                 stored information. Unless otherwise specified, the warrant
                 authorizes a later review of the media or information consistent with
                 the warrant. The time for executing the warrant in Rule 41(e)(2)(A)
                 and (f)(1)(A) refers to the seizure or on-site copying of the media or
                 information, and not to any later off-site copying or review.

  Fed. R. Crim. P. 41(e)(2)(B) (effective Dec. 1, 2009). The commentary to the new rule explains that

                 [c]omputers and other electronic storage media commonly contain
                 such large amounts of information that it is often impractical for law
                 enforcement to review all of the information during execution of the
                 warrant at the search location. This rule acknowledges the need for
                 a two-step process: officers may seize or copy the entire storage
                 medium and review it later to determine what electronically stored
                 information falls within the scope of the warrant.
                 ....
                 In addition to addressing the two-step process inherent in searches for
                 electronically stored information, the Rule limits the [now fourteen-]
                 day execution period to the actual execution of the warrant and the
                 on-site activity. While consideration was given to a presumptive
                 national or uniform time period within which any subsequent off-site
                 copying or review of the media or electronically stored information
                 would take place, the practical reality is that there is no basis for a
                 “one size fits all” presumptive period. A substantial amount of time
                 can be involved in the forensic imaging and review of information.
                 This is due to the sheer size of the storage capacity of media,
                 difficulties created by encryption and booby traps, and the workload
                 of the computer labs. The rule does not prevent a judge from
                 imposing a deadline for the return of the storage media or access to
                 the electronically stored information at the time the warrant is issued.
                 However, to arbitrarily set a presumptive time period for the return
                 could result in frequent petitions to the court for additional time.

  Fed. R. Crim. P. 41(e)(2)(B), Committee Comments to the 2009 Amendments. The Court likewise

  finds that applying the 10-day time limitation in Rule 41 to the seizure or imaging of the computer

  files, rather than their subsequent analysis, advances the safeguards intended for the computer’s

  owner/user while recognizing the practical challenges inherent in analyzing electronically stored

  data.

                 Accordingly, the Court finds that the forensic analysis of the data on the defendants’

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  computers and on Wyko’s server without a written search methodology and in excess of the 10-day

  time limitation in Rule 41 does not violate the Fourth Amendment.



  (4) Was Defendant Howley’s Cellular Telephone Improperly Seized?

                 Defendant Howley argues that the executing agents exceeded the scope of the search

  warrant when they seized his cellular telephone from his person because his person was not listed

  as a location to be searched in the warrant.4 Although it argued generally that search warrant was

  supported by probable cause, the government failed to address the execution of the search warrant

  or this argument specifically in its response in opposition [Doc. 50] to the defendant’s motion. The

  defendant argues in reply that the government has thereby waived any opposition to the suppression

  of his cellular phone. At the November 12 hearing, the government argued that Defendant Howley

  was not searched but, instead, gave his cellular telephone to the agents at their request. Defendant

  Howley contended that the agents’ request for the telephone in combination with the surrounding

  circumstances was tantamount to a search of his person. Moreover, he argued that even if he was

  not searched, the telephone was improperly seized from his person pursuant to the search warrant.

                 The Court initially addresses the defendant’s contention that the government has

  essentially conceded this issue by failing to address it in its response. Our local rules provide in

  pertinent part that the “[f]ailure to respond to a motion may be deemed a waiver of any opposition

  to the relief sought.” E.D.TN. LR7.2. The government did file a five-page response [Doc. 50] to


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          Although the defendant filed his motion [Doc. 25] and supporting memorandum [Doc.
  26] under seal, the Court finds that the portions discussing the seizure of the cellular telephone
  do not disclose any trade secrets and deems those portions unsealed for the purposes of the
  report. As discussed above, the defendant withdrew the other arguments in this motion at the
  November 12 hearing.

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  Defendant Howley’s sealed suppression motion [Doc. 25], but it did not address the third of the

  defendant’s four contentions: “That the search warrant did not authorize the search of the person of

  Sean Howley.” On June 11, 2009, the defendant filed a reply [Doc. 61], pointing out that the

  government had failed to respond to this argument and asking the Court to deem such failure to be

  a concession of the issue. The government did not seek to supplement its response in the five

  months between the filing of the reply and the hearing. While the Court might not normally be

  inclined to deem a partial response to a motion to be a waiver of a neglected issue, here, the

  government did not respond even in the wake of having the possible oversight brought to its

  attention. The Court knows of no way to interpret this course of conduct other than a waiver of the

  issue. Accordingly, if the only basis for the seizure of Defendant Howley’s cellular telephone was

  the search warrant, then the cellular telephone should be suppressed.

                 At the hearing, the government argued that Defendant Howley’s person was not

  searched but that, instead, he voluntarily provided his cellular telephone to the agents at their

  request. The defendant responded that the provision of the telephone was not voluntary under the

  circumstances. The Court will address whether the telephone was received pursuant to an exception

  to the warrant requirement, specifically whether the defendant gave the cellular telephone to the

  agents consensually. “It is well-established that a warrantless search by law enforcement officials

  will be upheld if a detainee has voluntarily consented to the search.” United States v. Van Shutters,

  163 F.3d 331, 335 (6th Cir. 1998) (citing Schneckloth v. Bustamonte, 412 U.S. 218, 219, (1973)).

  The government bears the burden of proving that the consent was voluntary and not “the result of

  coercion, duress, or submission to a claim of authority” based upon the totality of the circumstances.

  Id. The government must make this showing through “clear and positive testimony” and to a


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  preponderance of the evidence. United States v. Worley, 193 F.3d 380, 385 (6th Cir. 1999).

                 The voluntariness of the consent to search is determined by looking to the totality of

  the circumstances. Bustamonte, 412 U.S. at 227; United States v. Jones, 846 F.2d 358, 360 (6th Cir.

  1988). “Among the relevant circumstances to be scrutinized are the defendant’s youth, lack of

  education or low intelligence, the lack of any warnings regarding the accused’s constitutional rights,

  as well as evidence of duress or coercion, such as, deprivation of food or sleep and prolonged

  detention or questioning.” Jones, 846 F.2d at 360. “While knowledge of the right to refuse consent

  is one factor to be taken into account, the government need not establish such knowledge as the sine

  qua non of an effective consent.” Bustamonte, 412 U.S. at 227.

                 In the present case, the Court finds that Defendant Howley agreed to be interviewed

  by Agents Gounaud and O’Connor and accompanied them to a Wyko vice president’s office. The

  tenor of the interview was primarily business-like, although approximately half-way through the one

  and one-half to two hour interview, the agents told the defendant that they believed he was lying.

  They also informed him that lying to a federal investigator was a felony with a penalty of

  imprisonment prison. About five minutes after this discussion, the defendant’s “tone” changed, and

  he began telling the agents information relevant to their investigation of theft of trade secrets. Near

  the end of the interview, the agents and the defendant discussed the contents and location of the

  defendant’s cellular telephone. The agents asked the defendant for his telephone. The defendant

  produced it from his person and gave it to them without objection. The agents did not advise

  Defendant Howley of the Miranda warnings during the interview.

                 The Court finds that the totality of the circumstances in this case reveal that the

  defendant voluntarily gave his cellular telephone to the agents. The defendant, a Wyko engineer,


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  agreed to be interviewed and accompanied the agents to the Wyko office where the interview took

  place. Although the defendant was not informed of his ability to refuse to turn over the telephone

  or of his Miranda rights, the questioning was not prolonged, and the defendant was not deprived of

  food or sleep. Moreover, no evidence exists that the defendant believed himself to be under arrest

  or that he was arrested that day. C.f., Jones, 846 F.2d at 361 (holding that consent was not valid

  when the uneducated defendant believed that he was under arrest from the time he was stopped by

  officers and his car was blocked by three police cruisers). The Court does not find the circumstances

  of the interview to be coercive, and the defendant has presented no proof to the contrary.

                 Although the circumstances surrounding the interview were not coercive (as

  discussed more fully in the final section below), the Court must determine whether the defendant’s

  action in handing over the phone without objection constituted consent. Agent Gounaud testified

  that he asked the defendant for his cellular telephone, and the defendant handed him the phone

  without objection. To be voluntary, consent must be more than mere acquiescence to apparent

  lawful authority. Bumper v. North Carolina, 391 U.S. 543, 546 (1968); Worley, 193 F.3d at 386.

  It must also be more than a mere submission to authority and must evidence understanding and an

  intentional waiver. United States v. Jones, 641 F.2d 425, 429 (6th Cir. 1981). The Sixth Circuit has

  previously held that an affirmative non-verbal action in combination with other factors can

  constitute voluntary consent. United States v. Taylor, No. 96-4169, 1998 WL 109979, at *6 (6th

  Cir. Mar. 4, 1998). In Taylor, the defendant silently got out of his car and opened the trunk in

  response to the officers suggestion that they look in the trunk for the rental agreement. Id.; see also

  United States v. Anderson, No. 92-3387, 1993 WL 2302, at *7 (6th Cir. Jan. 6, 1993) (holding that

  the “action of opening a piece of luggage in view of the agents and then providing Special Agent


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  Bowie with the combination to the second suitcase indicates nonverbal consent). The court held that

  the defendant’s “actions constituted voluntary, non-verbal consent to a search of his trunk[:]”

                 While [Defendant] Taylor’s choices at the moment of decision were
                 not appealing, the circumstances of the encounter suggest that Taylor
                 could have refused to let [Officer] Sgambellone look in the trunk.
                 Sgambellone was no[t] threatening Taylor with personal detention,
                 with a weapon, or with abusive language, and the traffic stop
                 occurred in the [l]ight o[f] morning o[n] a public street.

  Taylor, 1998 WL 109979, at *7. Likewise, in the present case, the Court finds that the defendant’s

  action of removing the cellular telephone from his person and handing it to the agent constituted an

  affirmative and voluntary, non-verbal consent to the agents’ request for his telephone. Although the

  evidence is admittedly sparse, the Court finds that the government has shown that the defendant

  voluntarily provided his telephone to the agents by a preponderance of the evidence.



                                B. Defendant Howley’s Statement

                 Defendant Howley contends that his statement given on September 25, 2007, should

  be suppressed because it was involuntary and the fruit of an illegal search. He argues that he was

  interrogated in a small room with a single door and covered window for nearly two hours. He

  maintains that he was not free to leave during the interview, was not told that he could decline to

  answer questions, and was not told that he could have a lawyer present. He asserts that the agents

  questioned him in a confrontational style, told him that he had lied to them, which is a crime, and

  told him that he had better cooperate. He argues that under the totality of the circumstances, his

  statement was not voluntary because he was not advised of his Miranda rights and did not feel free

  to leave. The government responds that the defendant was not in custody when he gave his




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  statement and, therefore, was not entitled to the Miranda warnings.5

                 The Fifth Amendment protects against a defendant being “compelled in any criminal

  case to be a witness against himself.” In light of this protection, the Supreme Court has held that

  law enforcement officers cannot interrogate a suspect who is in custody until they advise the suspect

  of his or her rights under the Fifth Amendment. Miranda v. Arizona, 384 U.S. 436,478-79 (1966);

  see also United States v. Salvo, 133 F.3d 943, 948 (6th Cir. 1998). “Statements elicited in

  noncompliance with this rule may not be admitted for certain purposes in a criminal trial.”

  Stansbury v. California, 511 U.S. 318, 322 (1994); Salvo, 133 F.3d at 948.

                 The obligation to administer Miranda warnings to suspects only arises if there has

  been “such a restriction on a person’s freedom as to render him ‘in custody.’” Oregon v. Mathiason,

  429 U.S. 492, 495 (1977) (per curiam). To determine whether an individual is in custody for

  purposes of Miranda, the Court examines the totality of the circumstances to assess how a

  reasonable person in that situation would have interpreted the situation. Salvo, 133 F.3d at 948; see

  also United States v. Swanson, 341 F.3d 524, 528 (6th Cir. 2003). “[T]he initial determination of

  custody depends on the objective circumstances of the interrogation, not on the subjective views

  harbored by either the interrogating officers or the person being questioned.” Stansbury, 511 U.S.

  at 323; Mason v. Mitchell, 320 F.3d 604, 631 (6th Cir. 2003). The “‘ultimate inquiry is simply

  whether there is a formal arrest or restraint on freedom of movement of the degree associated with

  a formal arrest.’” United States v. Knox, 839 F.2d 285, 291 (6th Cir. 1988) (quoting California v.


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          The government also contends that the defendant has failed to raise any issue of fact that
  would entitle him to an evidentiary hearing. The Court addressed this issue at the November 12,
  2009 hearing, finding that the defendant had sufficiently raised the issue of whether he was in
  custody or free to leave at the time he gave his statement. Following this finding, the
  government presented the testimony of Agent Gounaud.

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  Beheler, 463 U.S. 1121, 1125 (1983) (internal quotation marks omitted); Swanson, 341 F.3d at 529.

                 In determining whether a defendant was in custody, the Court examines the totality

  of the circumstances to ascertain a reasonable person’s understanding of the situation. Salvo, 133

  F.3d at 948. Relevant to the inquiry is whether a reasonable individual in the same position as the

  defendant would have felt free to leave. Swanson, 341 F.3d at 529. Other factors useful in making

  this determination are:

                 (1) the purpose of the questioning; (2) whether the place of the
                 questioning was hostile or coercive; (3) the length of the questioning;
                 and (4) other indicia of custody such as whether the suspect was
                 informed at the time that the questioning was voluntary or that the
                 suspect was free to leave or to request the officers to do so; whether
                 the suspect possessed unrestrained freedom of movement during
                 questioning; and whether the suspect initiated contact with the police
                 or voluntarily admitted the officers to the residence and acquiesced
                 to their requests to answer some questions.

  Salvo, 133 F.3d at 950; see also Swanson, 341 F.3d at 529.

                 In the present case, the Court makes the following factual findings with regard to the

  circumstances surrounding the defendant’s statement: On the day of the search of Wyko, all the

  employees were directed to the employee break room. Once there, an FBI agent explained what was

  happening and advised them that they did not have to remain inside during the search. At the

  conclusion of this explanation, Agent Kevin Gounaud asked for Defendant Howley. When

  Defendant Howley approached, Agent Gounaud introduced himself and Agent O’Connor, shook

  Howley’s hand, and told him that he would like to speak with him. Howley walked with the agents

  to a Wyko vice president’s office. The office, which was sixteen by twenty feet, had one window

  and one door. The blinds on the window remained closed during the interview, and the search of

  Wyko was going on outside the office. The office was furnished with a desk and three chairs, one


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  of which was behind the desk and two others were on the other side of the desk. During the

  interview, Agent O’Connor sat behind the desk, Agent Gounaud sat in the chair closest to the door

  and window, and the defendant sat in the third chair between a wall and the door. Although Agent

  Gounaud was the closest to the door, he was not blocking the defendant’s access to the door. During

  the interview, the agents were dressed in suits and ties and their weapons remained hidden.

                 The tenor of the interview, which lasted one and one-half to two hours, was

  primarily business-like. None of the participants raised their voices during the interview. The

  participants laughed during parts of the interview and parts were serious. About halfway into the

  interview, the agents confronted Defendant Howley with lying. They told him that pursuant to 18

  U.S.C. section 1001, lying to a federal investigator is a felony that carries a penalty of imprisonment.

  Approximately five to ten minutes later, the defendant admitted that he had been lying. Following

  that admission, the defendant’s “tone” changed and he began giving the agents information relevant

  to their investigation of theft of trade secrets. During the interview, Agent Gounaud stood up to

  hand the defendant several pictures and documents. The agents did not advise the defendant of the

  Miranda warnings during the interview, nor did they tell him that he was free to leave. At the end

  of the interview, the agents and the defendant discussed the location and contents of the defendant’s

  cellular telephone. Agent Gounaud asked the defendant for his cellular telephone. The defendant

  produced it from his person and gave it to Gounaud without objection.

                 Based upon these facts, the Court determines that Agent Gounaud and O’Connor’s

  purpose in interviewing the defendant was to investigate the theft of trade secrets. Agent Gounaud

  testified that he had a list of fifteen people he wanted to interview during the search and that

  Defendant Howley was a priority. The Court finds that the location of the interview, a vice


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  president’s office at Wyko, the defendant’s place of employment, was neither hostile nor coercive.

  The Sixth Circuit has twice analyzed the interview of a defendant at his or her place of employment.

  In United States v. Crossley, the defendant was interviewed in a large classroom with windows at

  the military camp where she worked. 224 F.3d 847, 862 (6th Cir. 2000). The appellate court

  determined that the location, which was “not a confined space which could be intimidating[,]” to be

  one factor supporting its determination that the interview was noncustodial. Id. Similarly, in United

  States v. Mahan, the appellate court concluded that an employee questioned at his place of

  employment was not in custody. 190 F.3d 416, 422 (6th Cir. 1999). In this case, the Court also

  finds that the location of the interview, a spacious and comfortable office, is a factor indicating the

  situation was noncustodial.

                 Moreover, although Defendant Howley was informed along with the other employees

  in the break room that he could leave during the search, once he went to the office with the agents,

  he was not told that he could leave. This factor, alone, is not determinative of the outcome of the

  inquiry. See Crossley, 224 F.3d at 862 (defendant not told that she could leave); Mahan, 190 F.3d

  at 422 (defendant not told that he could leave). Although the agents initiated the interview by asking

  the defendant to speak with them, the defendant complied with their request and walked to the office

  with them, just after he had been advised that he could leave the premises during the search. The

  Court also finds that the defendant’s movement was not restrained during the interview. His access

  to the door was not blocked, nor was he handcuffed or otherwise physically restrained.

                 Finally, the tenor of the interview was business-like and not intimidating. The

  officers were dressed in professional clothing and did not display their weapons. Although the

  officers confronted the defendant with lying and informed him that such constituted a felony that


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  could result in prison time, these facts, alone, also do not render the interview custodial. See

  Crossley, 224 F.3d at 862 (finding that “[a]lthough [the agent] told [the defendant] that she could

  be arrested if she lied, a reasonable person would understand that this statement applies to anyone

  who lies to federal agents and was not specifically directed to her particular situation in that

  interview”); Mahan, 190 F.3d at 422-23 (determining that although the agent told the defendant “that

  giving false information during the interview would be a serious matter[,]” that factor did not “even

  remotely constitute[] a restraint on the freedom of movement to the degree associated with formal

  arrest”). Finally, the length and timing–a maximum of two hours during business hours–of the

  interview were not oppressive.

                 Considering the totality of the circumstances, the Court finds that Defendant Howley

  was not in custody during the interview by Agents Gounaud and O’Connor. It is well-settled that

  a person is not entitled to be advised of the Miranda warnings when questioned in a noncustodial

  setting. United States v. Warner, 971 F.2d 1189, 1201 (6th Cir. 1992) (holding that a statement was

  admissible despite the absence of Miranda warnings because the suspect was not in custody when

  interrogated). Accordingly, the Miranda warnings were not required. Finally, Defendant Howley’s

  statement was not the fruit of an illegal search because the Court has found that the search of Wyko

  pursuant to a search warrant comports with the Fourth Amendment. The Court recommends that

  the District Court deny Defendant Howley’s motion to suppress his statement [Doc. 19].




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                                         V. CONCLUSION

                 After carefully considering the motions, memoranda, testimony, exhibits, and oral

  arguments and after reviewing the relevant legal authorities, the Court finds that the search warrant

  properly issued and was properly executed. Additionally, it finds that Defendant Howley’s

  statement was voluntary. For the reasons set forth herein, it is RECOMMENDED that the

  defendants’ Motion to Suppress Statements [Doc. 19], Sealed Motion to Suppress Search Pursuant

  to Search Warrant [Doc. 25] and Motion to Suppress [Doc. 39] be DENIED.6

                                                    Respectfully submitted,


                                                      s/ C. Clifford Shirley, Jr.
                                                    United States Magistrate Judge




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           Any objections to this report and recommendation must be served and filed within
  fourteen (14) days after service of a copy of this recommended disposition on the objecting
  party. Fed. R. Crim. P. 59(b)(2) (as amended). Failure to file objections within the time
  specified waives the right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United
  States v. Branch, 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155
  (1985) (providing that failure to file objections in compliance with the required time period
  waives the right to appeal the District Court’s order). The District Court need not provide de
  novo review where objections to this report and recommendation are frivolous, conclusive, or
  general. Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are
  reserved for appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370, 1373
  (6th Cir. 1987).

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